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                   UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
DARIANA DURDACH,                            : CIVIL NO: 3:20-CV-00926
                                            :
                   Plaintiff,               : (Magistrate Judge Schwab)
                                            :
             v.                             :
                                            :
LM GENERAL INSURANCE                        :
COMPANY,                                    :
                                            :
                   Defendant.               :

                                      ORDER
                                  January 11, 2021

      For the reasons set forth in the Memorandum Opinion filed concurrently

with this Order, IT IS ORDERED that the defendant’s motion (doc. 13) to dismiss

the bad faith claim (Count II of the amended complaint) is GRANTED. IT IS

FURTHER ORDERED that Durdach may filed a second amended complaint

within 21 days of the date of this Order.




                                              S/Susan E. Schwab
                                              Susan E. Schwab
                                              United States Magistrate Judge
